        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 1 of 27




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :       Case No:
                                              :
               v.                             :
                                              :       VIOLATIONS:
SANDRA RUTH PARKER, and                       :
                                              :       18 U.S.C. § 371
BENNIE ALVIN PARKER,                          :       (Conspiracy)
                                              :
               Defendants.                    :       18 U.S.C. §§ 1361, 2
                                              :       (Destruction of Government Property and
                                              :       Aiding and Abetting)
                                              :
                                              :       18 U.S.C. § 1512(c)(2), 2
                                              :       (Obstruction of an Official Proceeding and
                                              :       Aiding and Abetting)
                                              :
                                              :       18 U.S.C. § 1752(a)
                                              :       (Restricted Building or Grounds)
                                              :

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Michael M. Palian Jr., being first duly sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging Sandra

Parker and Bennie Parker with violations of 18 U.S.C. §§ 2, 371, 1361, 1512(c)(2), and 1752(a),

(hereinafter, “Subject Offenses”). This Affidavit sets forth evidence establishing probable cause

that Sandra Parker and Bennie Parker conspired together, and with others known and unknown, to

obstruct the United States Congress’s affirmation of the Electoral College vote regarding the

results of the 2020 U.S. Presidential Election, and that they committed other related federal crimes

in furtherance of that purpose, as set forth below.

       2.      I respectfully submit that this Affidavit establishes probable cause to believe that

Sandra Parker and Bennie Parker:
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 2 of 27




            a.      Knowingly and willfully conspired together and with others whose identities

                    are known and unknown to law enforcement at this time to commit an offense

                    against the United States, in violation of 18 U.S.C. § 371, that is, to corruptly

                    obstruct, influence, or impede an official proceeding in violation of 18 U.S.C.

                    § 1512(c)(2); and

            b.      Attempted to willfully injure or commit depredation against any property of the

                    United States, and aided and abetted the willful injury of or depredation against

                    any property of the United States, that is, damage to the doors, including their

                    window panes, of the U.S. Capitol in an amount more than $1,000, in violation

                    of 18 U.S.C. §§ 1361 and 2; and

            c.      Corruptly obstructed, influenced, and impeded an official proceeding, in

                    violation of 18 U.S.C. § 1512(c)(2), and aided and abetted others in doing so;

                    and

            d.      Entered and remained in any restricted building and grounds without lawful

                    authority, and knowingly, and with intent to impede or disrupt the orderly

                    conduct of Government business and official functions, engaged in disorderly

                    and disruptive conduct, in violation of 18 U.S.C. §§ 1752(a)(1) and (2).

       3.        Specifically, Sandra Parker, dressed in a uniform consisting of camouflaged-

combat attire, and, operating as a group with several other similarly-attired members of the “Oath

Keepers Militia,” breached the U.S. Capitol, directly or indirectly damaged property of the Capitol,

and obstructed Congress’s proceedings. Bennie Parker, similarly dressed in a uniform consisting

of camouflaged-combat attire, assisted Sandra Parker and other members of the “Oath Keepers




                                                  2
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 3 of 27




Militia” by staying in communication with members inside the Capitol while Bennie Parker

remained on the grounds of the Capitol.

                                BACKGROUND OF AFFIANT

       4.      As a Special Agent with the Federal Bureau of Investigation (“FBI”), I am

empowered by law to conduct investigations, make arrests, and execute and serve search and arrest

warrants for offenses enumerated in Title 21 and Title 18 of the United States Code. I have received

training and gained experience in a variety of criminal laws and procedures, including those

involving drug distribution, white collar crime and crimes of violence. Through my training,

education and experience, I have become familiar with the manner in which criminal activity is

carried out, and the efforts of persons involved in such activity to avoid detection by law

enforcement. In addition to my regular duties, I am currently tasked with investigating criminal

activity that occurred in and around the U.S. Capitol grounds on January 6, 2021.

       5.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause, it does not contain every fact known by me or the United States. The dates listed

in this Affidavit should be read as “on or about” dates.

                                        BACKGROUND

The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

       6.      The 2020 United States Presidential Election occurred on November 3, 2020.

       7.      The United States Electoral College is a group required by the Constitution to form

every four years for the sole purpose of electing the president and vice president, with each state

appointing its own electors in a number equal to the size of that state’s Congressional delegation.



                                                 3
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 4 of 27




       8.      On December 14, 2020, the presidential electors of the U.S. Electoral College met

in the state capital of each state and in the District of Columbia and formalized the result of the

2020 U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have

won sufficient votes to be elected the next president and vice president of the United States.

       9.      On January 6, 2021, a Joint Session of the United States House of Representatives

and the United States Senate (“the Joint Session”) convened in the United States Capitol building

(“the Capitol”) to certify the vote of the Electoral College of the 2020 U.S. Presidential Election

(“the Electoral College vote”).

                       The Attack at the U.S. Capitol on January 6, 2021

       10.     The Capitol is secured 24 hours a day by United States Capitol Police. The Capitol

Police maintain permanent and temporary barriers to restrict access to the Capitol exterior, and

only authorized individuals with appropriate identification are allowed inside the Capitol building.

       11.     On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the

Capitol building to certify the Electoral College vote. Vice President Michael R. Pence, in his

constitutional duty as President of the Senate, presided over the Joint Session.

       12.     A large crowd began to gather outside the Capitol perimeter as the Joint Session

got underway. Crowd members eventually forced their way through, up, and over Capitol Police

barricades and advanced to the building’s exterior façade. Capitol Police officers attempted to

maintain order and stop the crowd from entering the Capitol building, to which the doors and

windows were locked or otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members

forced entry into the Capitol building by breaking windows, ramming open doors, and assaulting

Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced entry.




                                                 4
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 5 of 27




The crowd was not lawfully authorized to enter or remain inside the Capitol, and no crowd member

submitted to security screenings or weapons checks by Capitol Police or other security officials.

       13.     Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate

(including Vice President Pence)—who had withdrawn to separate chambers to resolve an

objection—were evacuated from their respective chambers. The Joint Session and the entire

official proceeding of the Congress was halted while Capitol Police and other law-enforcement

officers worked to restore order and clear the Capitol of the unlawful occupants.

       14.     Later that night, law enforcement regained control of the Capitol. At approximately

8:00 p.m., the Joint Session reconvened, presided over by Vice President Pence, who had remained

hidden within the Capitol building throughout these events.

       15.     In the course of these events, approximately 81 members of the Capitol Police and

58 members of the Metropolitan Police Department were assaulted. Additionally, many media

members were assaulted and had cameras and other news-gathering equipment destroyed, and the

Capitol suffered millions of dollars in damage—including broken windows and doors, graffiti, and

residue of various pepper sprays, tear gas, and fire extinguishers deployed both by crowd members

who stormed the Capitol and by Capitol Police officers trying to restore order.

                                    The Oath Keepers Militia

       16.     Law enforcement and news-media organizations observed that members of a

paramilitary organization known as the Oath Keepers were among the individuals and groups who

forcibly entered the U.S. Capitol on January 6, 2021. The Oath Keepers are a large but loosely-

organized collection of militia that believe that the federal government has been coopted by a

shadowy conspiracy that is trying to strip American citizens of their rights. Though the Oath

Keepers will accept anyone as members, what differentiates them from other anti-government



                                                5
           Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 6 of 27




groups is their explicit focus on recruiting current and former military, law enforcement, and first-

responder personnel. The organization’s name alludes to the oath sworn by members of the

military and police to defend the Constitution “from all enemies, foreign and domestic.” The Oath

Keepers are led by Person One.

       17.      In a widely disseminated video1 recorded by a photojournalist on January 6, 2021,

a “stack” of individuals dressed in matching uniforms consisting of camouflaged-combat attire, to

include confirmed Oath Keeper members (further described below), moves up and through a

crowd on the east side of the U.S. Capitol. A screenshot of the video is below, with a portion of

the “stack” encircled by a red oval:




       1
          See https://apnews.com/article/ex-military-cops-us-capitol-riot-a1cb17201dfddc98291edead5
badc257/gallery/0ecd1781c66d437f92c61b3f4848a74e (at slide 10).

                                                 6
           Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 7 of 27




       18.      Based on my training and experience, a stack or line formation is a tactical

formation used by infantryman in the military. One defining feature of this formation is that

members keep their hands on the backs or vests of the person in front of them to remain together

while entering a room or weaving through a crowd. The purpose of maintaining direct physical

contact with one another is to efficiently communicate with one another, especially in crowded or

noisy areas.

       19.      A service called “News2Share” uploaded to YouTube a video of the January 6,

2021, attack at the Capitol. At the approximate 3-minute-and-8-second mark, the video shows

eight-to-ten individuals in matching uniforms consisting of camouflaged-combat attire

aggressively approaching an entrance to the Capitol.2 These individuals, who are wearing helmets,

reinforced vests, and clothing with Oath Keeper logos and insignia, can be seen moving in an

organized and practiced fashion and forcing their way to the front of the crowd gathered around a

set of doors to the Capitol.




       2
           See https://www.youtube.com/watch?v=b76KfHB0QO8&feature=youtu.be.


                                               7
          Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 8 of 27




       20.     A close-up view of the badges on the vest of one of these individuals, seen just

under the Oath Keepers emblem on his shirt, displays the Oath Keepers motto, “Not On Our

Watch.”




       21.     Based on the foregoing observations of the video, and information gained in the

course of my investigation, it is reasonable to believe that the organized group of individuals

marching to the doors of the Capitol in the video above are members and affiliates of the Oath

Keepers.

       22.     On January 6, 2021, the particular Capitol doors through which this “stack” of Oath

Keepers (and other members of the crowd) breached were significantly damaged. Among other

damage, multiple panes of glass were smashed, and a door handle was missing or broken off.

       23.     Surveillance video from inside the Capitol shows this “stack” of Oath Keepers (and

other members of the crowd) shortly after they breached and damaged the doors to the Capitol:




                                                8
           Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 9 of 27




       24.      Members of the “stack” of Oath Keepers that forcibly entered the Capitol then

congregated inside the north section of the Rotunda, as seen in surveillance video from inside the

Capitol:




       25.      Finally, a photojournalist took photos of the members of the “stack” inside the

                                                9
       Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 10 of 27




Rotunda as they continued to communicate with one another by keeping their hands on each

other’s backs:




                                                Conspirators

                                  Jessica Watkins & Donovan Crowl

       26.       Jessica Watkins and Donovan Crowl were among the “stack” members who

penetrated the U.S. Capitol Rotunda. In a Parler video compiled by ProPublica,3 Watkins and

Crowl are shown together in the Capitol Rotunda. Crowl says, “We took on the Capitol! We

overran the Capitol!” Watkins exclaims, “We’re in the fucking Capitol, [unintelligible]!” Watkins

and Crowl turn the camera around for a video selfie as they do so:




       3
           See https://projects.propublica.org/parler-capitol-videos.


                                                      10
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 11 of 27




       27.     On January 16, 2021, the government obtained a warrant for Watkins’s and Crowl’s

arrests from the District Court for the District of Columbia, and a warrant to search Watkins’s

home in Woodstock, Ohio, from the District Court for the Southern District of Ohio.

       28.     On January 17, 2021, FBI agents executed a search warrant of Watkins’s residence.

Inside, they located protective equipment and battle gear of the sort worn during the offenses of

January 6, 2021 (to include a camouflage hat and jackets; a backpack with medical/PPE supplies;

a black tactical kit with medical supplies, radio, mini drone, and pepper spray; a bag containing a

helmet and respirators; and a bag containing a helmet, radio, and belt); cellular telephones;

numerous firearms; a paintball gun with rubber-steel balls and a cylinder; pool cues cut down to

baton size; zip/cable ties; a recipe for making a destructive device; and other items.

       29.     That same day, a search of a location where Crowl was said to have occasionally

stayed resulted in the recovery of a green reinforced vest. Affixed to the vest was a label with the

name “Trapper,” which was a label visible on videos and in photos that captured Crowl during the

incursion of the Capitol.

       30.     Later that day, both Watkins and Crowl were arrested.
                                                 11
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 12 of 27




        31.        On January 27, 2021, a federal grand jury in Washington, D.C., indicted Watkins

and Crowl, in case number 21-CR-00028, on counts of Conspiracy, in violation of 18 U.S.C. § 371;

Obstruction of an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2); Destruction of

Government Property and Aiding and Abetting, in violation of 18 U.S.C. §§ 1361, 2; and

Restricted Building or Grounds Access, in violation of 18 U.S.C. §§ 1752(a)(1)-(2).

        32.        In addition, the FBI has obtained an audio recording of Zello4 communications

between Watkins and other suspected Oath Keepers during the January 6th attack on the U.S.

Capitol. During the recorded transmission—believed to be among Watkins and other Oath

Keepers on a Zello channel called “Stop the Steal J6”—Watkins had the following exchanges

(among others), which are approximately transcribed:

              a.      At the approximate 5-minute mark, the voice believed to be Watkins reports,

                      “We have a good group. We have about 30-40 of us. We are sticking together

                      and sticking to the plan.” An unknown male responds, “We’ll see you soon,

                      Jess. Airborne.”

              b.      At the approximate 7-minute-and-44-second mark, an unknown male states,

                      “You are executing citizen’s arrest. Arrest this assembly, we have probable

                      cause for acts of treason, election fraud.” The voice believed to be Watkins

                      responds, “We are in the mezzanine. We are in the main dome right now. We

                      are rocking it. They are throwing grenades, they are fricking shooting people

                      with paint balls. But we are in here.” An unknown male responds to Watkins,




        4
         Zello is a push-to-talk application that operates like a walkie-talkie on a cellular telephone. The
Zello application may, depending on a user’s settings, store recordings and other information about the
user’s communications on the user’s phone.


                                                    12
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 13 of 27




                     telling her to be safe, and states, “Get it, Jess. Do your fucking thing. This is

                     what we fucking [unintelligible] up for. Everything we fucking trained for.”

                                          Thomas Caldwell

       33.      Thomas Caldwell conspired with members of the Oath Keepers, including Watkins

and Crowl, to go to and storm the U.S. Capitol on January 6, 2021. Notably, Caldwell provided

logistical assistance, including finding the hotel in Northern Virginia where several members of

the conspiracy stayed from January 5 through 7, 2021. Caldwell further coordinated with a group

of co-conspirators who agreed to serve as a “quick reaction force” (“QRF”) to monitor the attack

at the Capitol from a distance and be prepared to travel to the Capitol in the event they were called

upon, possibly while armed. Caldwell also provided maps informing the QRF team how to most

effectively reach the Capitol from their staging area.

       34.      Caldwell was also present outside of the U.S. Capitol on January 6, 2021. In a

YouTube video5 recording the events of January 6, 2021, Caldwell is interviewed and, while

motioning to the Capitol, shouts, “Every single [expletive beeped in original] in there is a traitor.

Every single one!”




       5
           See https://www.youtube.com/watch?v=L5hksM_R59M.


                                                  13
         Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 14 of 27




         35.        On January 19, 2021, law-enforcement officers searched Caldwell’s home during

the execution of a search warrant and recovered a Gadsden “Don’t Tread on Me” flag containing

Watkins’s and Crowl’s signatures (among others), a Donald Trump poster with Watkins’s and

Crowl’s signatures (among others), and a hand-drawn Oath Keepers insignia above the

handwritten words “14 Nov 20 ‘Million MAGA March.’”

         36.        A federal grand jury in Washington, D.C., indicted Caldwell along with Watkins

and Crowl on counts of Conspiracy, Obstruction of an Official Proceeding, Destruction of

Government Property, and Entering a Restricted Building or Grounds, in case number 21-CR-

00028.

         37.        The FBI has obtained Facebook records and cellular telephone data that

demonstrate how Caldwell, Crowl, Watkins, and others planned and coordinated their efforts to

stop, delay, and hinder the certification of the results of the 2020 U.S. Presidential Election:

               a.      In the days after the election, Watkins texted with a number of people whom

                       she identified in the contacts list of her phone as a possible “recruit.” Watkins

                       told one of these individuals, “[I]f Biden get the steal, none of us have a chance

                       in my mind. We already have our neck in the noose. They just haven’t kicked

                       the chair yet.”

               b.      Caldwell, Crowl, Watkins, and others attended the “Million MAGA” march,

                       held on November 14, 2021, with the Oath Keepers leader, Person One.

               c.      After that weekend, Caldwell sent Watkins the following message:

                              Hi, CAP! Wanted to tell you it was great to have you here in
                              Virginia. Don’t know what [Person One] is cooking up but I
                              am hearing rumblings of another Maga March 12 December. I
                              don’t know what will happen but like you I am very worried
                              about the future of our country. Once lawyers get involved all
                              of us normal people get screwed. I believe we will have to get

                                                    14
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 15 of 27




                              violent to stop this, especially the antifa maggots who are sure
                              to come out en masse even if we get the Prez for 4 more years.
                              Stay sharp and we will meet again. You are my kinda person
                              and we may have to fight next time. I have my own gear, I like
                              to be ON TIME and go where the enemy is, especially after dark.
                              Keep the faith! Spy.

              d. On December 29, 2020, Watkins texted Crowl to let him know, “We plan on going

                  to DC on the 6th, weather permitting,” and when Crowl asked what was happening

                  that day, Watkins responded, “DC. Trump wants all able bodied Patriots to come.

                  I’m sure Tom would love to see us as well. If Trump activates the Insurrection Act,

                  I’d hate to miss it[.]”

              e. On December 30, 2020, Watkins and Caldwell exchanged several text messages

                  coordinating their plans and the plans of others for January 6, 2021, including the

                  following message sent by Caldwell to Watkins:

                              Talked to [Person Three].6 At least one full bus 40+ people
                              coming from N.C. Another group (unclear if Mississippi guys)
                              also a bus. Busses have their own lane on the 14th street bridge
                              so they will be able to get in and out. [Person Three] is driving
                              plus 1 and arriving nite before. As we speak he is trying to book
                              a room at Comfort Inn Ballston/Arlington7 because of its close-
                              in location and easy access to downtown because he feels 1) he's
                              too broken down to be on the ground all day and 2) he is
                              committed to being the quick reaction force anf bringing the
                              tools if something goes to hell. That way the boys don't have to
                              try to schlep weps on the bus. He'll bring them in his truck day
                              before. Just got a text from him he WAS able to book a room in
                              that hotel I recommended which is on Glebe Road in Arlington.
                              However it goes it will be great to see you again! I sure hope
                              your arm is getting better!




        6
        This individual is referred to in other filings in this matter as “Person Three,” so I am using that
nomenclature in this affidavit even though this affidavit does not reference a “Person Two.”
        7
            This is the same hotel at which Caldwell, Watkins, and Crowl stayed, at Caldwell’s suggestion.

                                                     15
Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 16 of 27




  f.    On December 31, 2020, Caldwell replied to a Facebook comment, writing, “It

        begins for real Jan 5 and 6 on Washington D.C. when we mobilize in the streets.

        Let them try to certify some crud on capitol hill with a million or more patriots

        in the streets. This kettle is set to boil…”

  g.    On January 6, 2021, while at the Capitol, Caldwell received the following

        Facebook message: “All members are in the tunnels under capital seal them in.

        Turn on gas.” When Caldwell posted a Facebook message that read, “Inside,”

        he received the following messages, among others: “Tom take that bitch over”;

        “Tom all legislators are down in the Tunnels 3floors down”; “Do like we had

        to do when I was in the core start tearing oit florrs go from top to bottom”; and

        “Go through back house chamber doors facing N left down hallway down

        steps.”

  h.    On January 7, 2021, the day after the attack, Caldwell wrote to Crowl, “Did you

        like the pictures of us storming the castle? I tried calling Cap a lot but it was

        probably hard for het to hear the phone ring.” Crowl responded, “Loved it.”

  i.    On January 8, 2021, Crowl sent Caldwell a message asking for a video.

        Caldwell sent it, and Crowl wrote, “Thank you Sir. Love the hell outta you

        Tom.” Caldwell responded, “You too, my dear friend! We stormed the gates

        of corruption together (although on opposite sides of the building) so between

        that and our first meeting and getting to know you since I can say we will always

        be brothers!”




                                      16
          Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 17 of 27




                                          The Co-Conspirators

                                  Sandra Parker and Bennie Parker

          38.     Sandra Parker is a 60-year-old resident of Warren County, Ohio. As described

more fully herein, Sandra Parker planned with her husband, Bennie Parker, and others known and

unknown, to forcibly enter the Capitol on January 6, 2021, and to obstruct the Congressional

proceeding occurring that day.

          39.     Bennie Parker is a 70-year-old resident of Warren County, Ohio. As described

more fully herein, Bennie Parker planned with his wife, Sandra Parker, and others known and

unknown, to forcibly enter the Capitol on January 6, 2021, and to obstruct the Congressional

proceeding occurring that day.

                 STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

          40.     As described below, evidence uncovered in the course of the investigation

demonstrates that not only did Sandra Parker and Bennie Parker and others conspire to forcibly

storm the U.S. Capitol on January 6, 2021—they planned their attack in advance and

communicated with one another before, during, and after their attack on the Capitol.

                              Identification of Sandra Parker and Bennie Parker

          41.     A search of Watkins’s cellular telephone revealed a contact, “Recruit Ben -

OSRM,”8 with a telephone number of XXX-XXX-5576 (redacted) that, after an open-source

search, was determined to match the telephone number of Bennie Parker, age 70, with an address

located in Morrow, Ohio. A female, Sandra Parker, age 60, was associated with the same address.

          42.     A query of the Ohio Law Enforcement Gateway confirmed Sandra Parker and

Bennie Parker were associated with the same address located in Morrow, Ohio.


8
    On information and belief, OSRM stands for Ohio State Regular Militia.

                                                    17
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 18 of 27




                  Sandra Parker and Bennie Parker Planning For January 6

       43.      A search of Watkins’s cellular phone revealed several text messages between

Watkins and “Recruit Ben – OSRM” (believed to be Bennie Parker, as described below).

       44.      On November 11, 2020, when discussing the Million MAGA March on November

14, 2020, Bennie Parker texted Watkins, “Unfortunately we cant take weapons.” Watkins

responded approximately one-minute later, “Not into the city, no.          Just mace, tasers and

nightsticks.”

       45.      On December 27, 2020, Bennie Parker texted Watkins, “I may have to see what it

takes to join your militia, our is about gone.” Also on December 27, 2020, Bennie Parker texted

Watkins, “Yes and you and Sandi and I are like minded you guy aren’t that far away . . . .”

       46.      Numerous text messages exchanged between Watkins and Bennie Parker appear to

relate to preparations for the trip to Washington D.C. on January 6, 2021, including travel

arrangements discussed on December 26 and 27, 2020:

                Bennie Parker to Watkins:    Is any of your members going to Washington on
                                             January 6?

                Watkins to Bennie Parker:    We are trying to, weather dependant. West
                                             Virginia/Maryland mountains are treacherous to
                                             drive

                Bennie Parker to Watkins:    Sandi and I want to go but would like to possibly
                                             meet with you and go with you guys. Safety and
                                             parking issues to name a few.

                Bennie Parker to Watkins:    I am seeing now that if you can’t make it to
                                             Washington then we should go to our state capital.

                Watkins to Bennie Parker:    Roger that. Parking is no issue, if you roll with the
                                             militia we have a guarded Rally Point

                Bennie Parker to Watkins:    I'll let Sandi know depends on the weather. Ive herd
                                             talk about Columbus if we can't make Washington.

                                               18
       Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 19 of 27




               Bennie Parker to Watkins:     I'll let you know. Keep me posted on what you all do
                                             if you don't mind. Thanks for getting back to me.

       47.     In further text message communications between Watkins and Bennie Parker on

December 29 and 30, 2020, they discussed Oath Keeper membership and meeting in advance to

prepare for the January 6, 2021, trip to Washington, D.C.:

               Bennie Parker to Watkins:     1/2 Great we need to get together and find out what
                                             we need to do to become member, we are retired so
                                             we can meet anytime. Also let me know what you
                                             all are

               Bennie Parker to Watkins:     2/2 doing on the 6th.

               Watkins to Bennie Parker:     Will do. Right now, considering DC still.

               Watkins to Bennie Parker:     When would you like to meet up before we go to
                                             DC? We work 6 days a week (we own a bar). You
                                             could come to our place, or meet up somewhere.

               Bennie Parker to Watkins:     Yes before would be great and we can come to your
                                             place. Let me know when and where.

               Watkins to Bennie Parker:     When - anytime after 3pm. Where - 102 N. Main St,
                                             Woodstock, OH, 43084

               Watkins to Bennie Parker:     Any day but Sunday is good ����

               Bennie Parker to Watkins:     How about this Saturday?

               Watkins to Bennie Parker:     Sounds good sir. We convoy out to the Rally Point
                                             in Virginia on Tuesday

               Bennie Parker to Watkins:     Sounds good we will see you Saturday afternoon.

               Watkins to Bennie Parker:     See you then!

       48.     On January 3, 2021, Bennie Parker and Watkins discussed the uniforms, gear, and

weapons they would wear and bring on January 6, 2021:


                                               19
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 20 of 27




                Watkins to Bennie Parker:       We are not bringing firearms. QRF9 will be our Law
                                                Enforcement members of Oathkeepers.
                Bennie Parker to Watkins:       Good to know.

                Watkins to Bennie Parker:       Pack Khaki/Tan pants. Weapons are ok now as
                                                well. Sorry for the confusion. We are packing the
                                                car and heading your way shortly

                Bennie Parker to Watkins:       We don’t have any khakis We have jeans and our b
                                                d u’s10 So I can bring my gun?

              Sandra Parker and Bennie Parker’s Participation in the Conspiracy

        49.     Records obtained from the Comfort Inn Ballston in Arlington, Virginia, confirm

that a room was rented for two adults from January 5-7, 2021, by Sandra Parker listing a home

address in Morrow, Ohio. Comfort Inn records also establish that individuals named “Thomas

Caldwell” and “Jessica Wagkins” each rented a room for two adults at the Comfort Inn Ballston

during those same dates.

        50.     The FBI obtained surveillance video from the Comfort Inn Ballston during the

January 5-7, 2021, timeframe. As reflected in the below still frame, this footage shows that on

January 5, 2021, Sandra Parker and Bennie Parker (yellow circles) were at the hotel interacting

with individuals believed to be Watkins and Crowl (red circles). Sandra Parker is observed

wearing tan pants, a black top, and a tan baseball hat. Bennie Parker is observed wearing tan pants,

a burgundy shirt, and a dark baseball hat.




9
   Based on the investigation, “QRF” appears to be a reference to the “quick reaction force” referenced
above.
10
   “B.D.U.” is an apparent reference to the military’s Battle Dress Uniform, which is a camouflaged combat
uniform.

                                                   20
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 21 of 27




       51.     A search of Watkins’s cellular phone revealed several messages between Watkins

and “Recruit Ben – OSRM” (believed to be Bennie Parker) on the morning of January 6, 2021. In

particular, the following text messages were identified:

       Watkins to Bennie Parker:      Y’all up and getting ready?
       Bennie Parker to Watkins:      Yep
       Watkins to Bennie Parker:      Grabbing gear and heading to van

       52.     Surveillance footage from the Comfort Inn shows that on January 6, 2021, between

5:00 a.m. and 5:25 a.m., Sandra Parker and Bennie Parker (yellow circles) were in the Comfort

Inn lobby and met with individuals who appear to be Watkins and Crowl (red circles). In the still

frames, Sandra Parker is seen carrying a light-colored jacket with a possible camouflage pattern.

Bennie Parker is observed wearing a camouflage patterned jacket.




                                                21
Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 22 of 27




                               22
       Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 23 of 27




       53.    During the search of Watkins’s cellular phone, the FBI obtained several

photographs, including images depicting an individual who appears to be Sandra Parker. In one

of the photographs outside of the U.S. Capitol, the individual who appears to be Sandra Parker is

seen wearing a tactical helmet and goggles, dark sunglasses, a light-colored camouflage jacket,

and a black backpack. This image also depicts an individual who appears to be Bennie Parker,

who is partially in the photo and seen wearing a tactical helmet and goggles. Both are standing

next to an individual wearing a tactical vest with “Oath Keepers” emblazoned on it.




                                               23
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 24 of 27




       54.     A January 29, 2021, New York Times article11 entitled “Tracking the Oath Keepers

Who Attacked the Capitol,” contained photos and videos depicting individuals who appear to be

Sandra Parker and Bennie Parker. One such video shows an individual, who is believed to be

Bennie Parker, marching toward the U.S. Capitol wearing a camouflage jacket, tan tactical vest,

goggles with a subdued Ohio state flag patch, and a tactical helmet affixed with a “MILITIA”

patch on the back.




11
  See https://www.nytimes.com/interactive/2021/01/29/us/oath-keepers-capitol-riot.html (last viewed on
retrieved on February 1, 2021)

                                                  24
       Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 25 of 27




       55.    In that same video, a woman walking in front of Bennie Parker is also wearing a

tactical helmet with a “MILITIA” patch and goggles with a subdued Ohio state flag patch. The

below pictures depict this individual wearing dark sunglasses, a light-colored camouflage jacket,

and a black backpack. These photos resemble Sandra Parker’s known photo.




       56.    The below photo taken by a photojournalist who was present inside the Capitol on

January 6, 2021, appears to show Sandra Parker (orange arrow)—wearing a tactical helmet and

goggles, dark sunglasses, a camouflage jacket, and a black backpack—is standing behind Crowl


                                               25
       Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 26 of 27




(red circle) and other Oath Keeper members, within the Rotunda:




       57.    Another photograph from the photojournalist appears to show Sandra Parker sitting

inside the Capitol while wearing the same clothing and combat gear described above:




       58.    The search of Watkins’s cellular phone revealed additional communications with

Bennie Parker. In one exchange on January 6, 2021, at 5:43 p.m., Bennie Parker asked Watkins,

“Is Sandi ok are tou ok?”

                                              26
        Case 1:21-cr-00028-APM Document 1-1 Filed 02/12/21 Page 27 of 27




       59.     Following the events of January 6, 2021, Watkins and Bennie Parker texted each

other about the ensuing federal investigation. Specifically, on January 9, 2021, and on January 14,

2021, they exchanged the following messages:

       Watkins to Bennie Parker (1/9/21): I’ve been following FBI wanted list, seems they’re
                                          only interested in people who destroyed things. I
                                          wouldn’t worry about them coming after us

       Bennie Parker to Watkins (1/9/21): I’m sure they’re not on us see some pics but no
                                          militia

       Bennie Parker to Watkins (1/9/21): Sandi was having sinus problems before we got to
                                          DC but she is starting to get a little better

       Watkins to Bennie Parker (1/9/21): Good to hear. I didn’t know that. She’s a super
                                          trooper pushing through all that walking like she did!

       Bennie Parker to Watkins (1/14/21): Hay I got to ask did you put Sandi out there in the
                                           Capital?


                                CONCLUSIONS OF AFFIANT

       60.     Based on the foregoing, I submit that there is probable cause to believe that Sandra

Parker and Bennie Parker committed violations of 18 U.S.C. §§ 2, 371, 1361, 1512(c)(2), and

1752(a).

       61.     As such, I respectfully request that the Court permit the filing of this Complaint.


                                             _______________________________________
                                             SPECIAL AGENT MICHAEL M. PALIAN JR.
                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, February 12, 2021.
                                                                     2021.02.12
                                                                     15:03:59 -05'00'
                                             ___________________________________
                                             HON. Zia M. Faruqui
                                             U.S. MAGISTRATE JUDGE



                                                27
